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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 PROTECT DEMOCRACY PROJECT,
                                                                  Case No. 1:25-cv-01111
                        Plaintiff,

        v.

 U.S. OFFICE OF MANAGEMENT & BUDGET
 et al.,

                        Defendants.


                NOTICE OF WITHDRAWAL OF SUPPLEMENTAL BRIEF

       On June 4, 2025, Plaintiff Protect Democracy filed a Supplemental Brief in response to

the Court’s June 1, 2025 Minute Order, which set a deadline for Plaintiff to file that brief by 5:00

pm on June 4. Shortly thereafter, the Court granted the parties’ Joint Motion to Extend

Supplemental Briefing Deadlines. See June 4, 2025 Minute Order. That Order moves the

deadline for Plaintiff’s Supplemental Brief from 5:00 pm on June 4 to 12:00 pm on June 9.

       Accordingly, Plaintiff hereby notifies the Court that it withdraws its Supplemental Brief

at ECF No. 26. Plaintiff will file a new Supplemental Brief by 12:00 pm on June 9, in

accordance with the Court’s Order.

Dated: June 5, 2025​                    ​       /s/ Daniel F. Jacobson              ​        .




                                                Daniel F. Jacobson (D.C. Bar # 1016621)
                                                Kyla M. Snow*             ​      ​
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                             * Not admitted in the District of Columbia. Practice
                             limited to matters before U.S. courts. (admitted pro
                             hac vice)

                             Counsel for Plaintiff Protect Democracy




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